

People v Turner (2020 NY Slip Op 05785)





People v Turner


2020 NY Slip Op 05785


Decided on October 14, 2020


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 14, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

RUTH C. BALKIN, J.P.
CHERYL E. CHAMBERS
JEFFREY A. COHEN
FRANCESCA E. CONNOLLY
PAUL WOOTEN, JJ.


2017-11767
 (Ind. No. 3443/17)

[*1]The People of the State of New York, respondent,
vDionel Turner, appellant.


Paul Skip Laisure, New York, NY (David P. Greenberg of counsel; Paris DeYoung on the memorandum), for appellant.
Eric Gonzalez, District Attorney, Brooklyn, NY (Arieh Schulman of counsel; Keerthana Nunna on the memorandum), for respondent.



DECISION &amp; ORDER
Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Kings County (Martin P. Murphy, J.), imposed September 7, 2017, upon his plea of guilty, on the ground that the sentence was excessive.
ORDERED that the sentence is affirmed.
The sentence imposed was not excessive (see People v Suitte , 90 AD2d 80).
BALKIN, J.P., CHAMBERS, COHEN, CONNOLLY and WOOTEN, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








